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MINUTES OF PROCEEDING
ROBERT G. JAMES
U.S. DISTRICT JUDGE
October 23, 2017


                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                  SHREVEPORT DIVISION

SHREVEPORT CHAPTER #237                               CIVIL ACTION NO. 17-01346
OF UNITED DAUGHTERS OF THE
CONFEDERACY

VERSUS                                                JUDGE ROBERT G. JAMES

CADDO PARISH COMMISSION, ET AL.                       MAG. JUDGE MARK L. HORNSBY

                                           *******

       A telephone status conference was held on October 23, 2017, at 2:00 p.m., to discuss

Plaintiff’s request for a preliminary injunction in this matter. Participating were Dave Knadler,

attorney for Plaintiff Shreveport Chapter #237 of United Daughters of the Confederacy; Donna

Frazier, attorney for the Caddo Parish Commission; Kayla Dye May, Law Clerk.

       After some discussion, counsel agreed that the preliminary injunction hearing should be

set at this time. The hearing is hereby set for December 11, 2017, at 10:00 a.m. Counsel should

be present in the courtroom no later than 9:30 a.m.

       Counsel should simultaneously file memorandum in support of or in opposition to the

preliminary injunction no later than November 13, 2017. If counsel wish to respond to the

opposing memorandum, he or she must file a response no later than November 27, 2017.

       A telephone pre-hearing conference is set before the undersigned for December 1, 2017,

at 10:00 a.m.
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        Counsel must file witness and exhibit lists for the hearing no later than December 4,

2017.

        If counsel determine that they need additional deadlines, they should contact Chambers.

        The conference concluded at 2:10.

                                               RGJ




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